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                    IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

In the Matter of:                        :
                                         :        Case Number 22-50216-JPS
VICTORY GUNZEL MAYFIELD
                                         :        Chapter 13
      Debtor                             :

                       MOTION TO USE CASH COLLATERAL

       NOW COME VICTORY GUNZEL MAYFIELD, debtor in the above-styled
action, pursuant to 11 U.S.C. Sections 1303 and 363(b), and files this her Motion To Use
Cash Collateral, respectfully showing the Court as follows:

                                             1.

      The debtor filed a petition for relief under Chapter 13 of the U.S. Bankruptcy
Code on February 28, 2022.

                                             2.

       The debtor is indebted to SANTANDER CONSUMER USA, INC. in the amount
of $12,869.08. Said debt is secured by a first lien on a 2014 Chrysler Town and Country
vehicle.

                                             3.

        The debtor’s said 2014 Chrysler Town and Country vehicle was destroyed in a
collision. There are insurance proceeds payable as a result of this loss.

                                             4.

     Said insurance proceeds are made payable to SANTANDER CONSUMER USA,
INC. and the debtor. These proceeds are, therefore, property of the bankruptcy estate.

                                             5.

       The debtors propose to use said insurance proceeds to purchase a replacement
vehicle of a value comparable to the value of the destroyed vehicle.

                                             6.

       The debtors show that a vehicle is required in order to go to and from work, and,
thus necessary to their effective financial reorganization.
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                                           7.

       The debtors request an order from the Court pursuant to 11 U.S.C. Sections 1303
and 363(d) allowing said insurance proceeds to be used by the debtors to obtain a
replacement vehicle as set forth herein above.



       WHEREFORE, the debtors pray for an order allowing said insurance proceeds to
be used by the debtor to obtain a replacement vehicle.


      Respectfully submitted this August 5, 2022.

                                                /s/ Wayne Gilleland

                                                Wayne Gilleland
                                                GA. State Bar No. 294825
                                                Attorney for Debtor

915 Hill Park, Suite 102
P. O. Box 104
Macon, Georgia 31202
(478) 745-6000
